 Case 2:09-cr-20034-KHV          Document 247        Filed 09/13/12      Page 1 of 9




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,            )
                                     )
               Plaintiff,            )                  CRIMINAL ACTION
                                     )                  No. 09-20034-01-KHV
v.                                   )
                                     )
TAURINO CERECERES-MORALES,           )                  CIVIL ACTION
                                     )                  No. 11-2591-KHV
               Defendant.            )
_____________________________________)

                               MEMORANDUM AND ORDER

       This matter is before the Court on defendant’s Motion Under 28 U.S.C. § 2255 To Vacate,

Set Aside, Or Correct Sentence By A Person In Federal Custody (Doc. #226) filed October 24, 2011.

For reasons set forth below, the Court overrules defendant’s motion.

                                      Factual Background

       On March 18, 2009, a grand jury charged defendant and others with conspiracy to possess

with intent to distribute 100 kilograms or more of marijuana in violation of 21 U.S.C. § 846 and

possession with intent to distribute 100 kilograms or more of marijuana in violation of 21 U.S.C.

§§ 841(a)(1) and (b)(1)(B)(vii). See Indictment (Doc. #25). On November 16, 2009, pursuant to

a plea agreement under Rule 11(c)(1)(C), Fed. R. Crim. P., defendant pled guilty. See Petition To

Enter Plea Of Guilty And Order Entering Plea (Doc. #93). The agreement proposed a sentence of

60 months in prison and four years of supervised release. Plea Agreement Pursuant To Fed. R.

Crim. P. 11(c)(1)(C) ¶ 3, attached to Petition To Enter Plea Of Guilty And Order Entering Plea (Doc.

#93). On May 19, 2010, consistent with the recommended sentence in the plea agreement, the Court
 Case 2:09-cr-20034-KHV          Document 247         Filed 09/13/12      Page 2 of 9




sentenced defendant to 60 months in prison and four years of supervised release.1

       Defendant argues that counsel was ineffective because at sentencing, (1) he did not argue

and convince the Court that defendant’s proffer was “complete and truthful” for purposes of the

safety valve and failed to ask the government to file a motion regarding the safety valve, (2) he did

not argue that defendant qualified for a downward departure based on age, poor health and disparity

between the guideline range and his actual sentence and (3) he did not give defendant “just

proceedings” and a “positive outcome” in light of his cooperation with the government.2

                                             Analysis

       The standard of review of Section 2255 petitions is quite stringent. The Court presumes that

the proceedings which led to defendant’s conviction were correct. See Klein v. United States, 880

F.2d 250, 253 (10th Cir. 1989). To prevail, defendant must show a defect in the proceedings which

resulted in a “complete miscarriage of justice.” Davis v. United States, 417 U.S. 333, 346 (1974).

       To establish ineffective assistance of counsel, defendant must show that (1) the performance



       1
               Mark A. Thomason initially represented defendant during pretrial proceedings
including the change of plea hearing. On March 23, 2010, the Court permitted Mr. Thomason to
withdraw and appointed Alex S. McCauley who represented defendant at sentencing.
       2
               The government seeks to enforce the waiver of collateral attacks in the plea
agreement, but incorrectly states that the waiver preserved claims of “ineffective assistance of
counsel as limited by United States v. Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001).”
Government’s Response To Defendant’s Motion Under 28 U.S.C. § 2255 To Vacate, Set Aside Or
Correct Sentence And Motion For Enforcement Of Plea Agreement (Doc. #238) at 3 (emphasis
added). The government ignores the final sentence of the waiver which states “[n]otwithstanding
the forgoing waivers, the parties understand that the defendant in no way waives any subsequent
claims with regards to ineffective assistance of counsel or prosecutorial misconduct.” Plea
Agreement Pursuant To Fed. R. Crim. P. 11(c)(1)(C) ¶ 11, attached to Petition To Enter Plea Of
Guilty And Order Entering Plea (Doc. #93) filed November 16, 2009. Accordingly, the Court
overrules the government’s request to enforce the waiver of collateral attacks.


                                                -2-
 Case 2:09-cr-20034-KHV           Document 247         Filed 09/13/12      Page 3 of 9




of counsel was deficient and (2) a “reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different.” Strickland v. Washington, 466 U.S.

668, 687, 694 (1984). To meet the first element, i.e. counsel’s deficient performance, defendant

must establish that counsel “made errors so serious that counsel was not functioning as the ‘counsel’

guaranteed the defendant by the Sixth Amendment.” Id. at 687. In other words, defendant must

prove that counsel’s performance was “below an objective standard of reasonableness.” United

States v. Walling, 982 F.2d 447, 449 (10th Cir. 1992). The Supreme Court recognizes, however,

“a strong presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance.” Strickland, 466 U.S. at 689; see United States v. Rantz, 862 F.2d 808, 810 (10th Cir.

1988), cert. denied, 489 U.S. 1089 (1989). As to the second element, the Court must focus on the

question “whether counsel’s deficient performance render[ed] the result of the trial unreliable or the

proceeding fundamentally unfair.” Lockhart v. Fretwell, 506 U.S. 364, 372 (1993).

I.     Failure To Argue That Defendant Qualified For The Safety Valve

       Defendant argues that counsel was ineffective because at sentencing, he did not argue and

convince the Court that defendant’s proffer was “complete and truthful” for purposes of the safety

valve and failed to ask the government to file a motion regarding the safety valve. Counsel’s

performance in this regard was not deficient or prejudicial because at sentencing, the parties agreed

that defendant satisfied the requirements for the safety valve.3 The Court also recognized that


       3
                The government argues that “[f]irst and foremost, at no time did this defendant
provide a proffer or cooperate in any manner, so as to qualify for the safety valve.” Doc. #238 at
4. The government’s statement is entirely misleading and inconsistent with its position at
sentencing. A cursory review of the sentencing transcript reveals that at the time of sentencing, the
parties agreed that defendant satisfied the requirements of the statutory safety valve. See Transcript
Of Sentencing (Doc. #203) at 7. Government counsel conceded the point. See id. at 8 (“And so we
                                                                                         (continued...)

                                                 -3-
 Case 2:09-cr-20034-KHV           Document 247         Filed 09/13/12      Page 4 of 9




defendant had satisfied the requirements for the safety valve and that it had discretion to sentence

defendant to a sentence below the statutory minimum. Even so, the Court decided that a statutory

minimum sentence of 60 months in prison was appropriate based in part on the parties’

Rule 11(c)(1)(C) plea agreement. Because the Court imposed a sentence consistent with the parties’

Rule 11(c)(1)(C) plea agreement, the precise guideline calculation was immaterial. The plea

agreement stated that the proposed sentence of 60 months, although within the guidelines, did not

depend upon them: “The parties are of the belief that the proposed sentence does not offend the now

advisory sentencing guidelines, but because this proposed sentence is sought pursuant to Fed. R.

Crim. P. 11(c)(l)(C), the parties are not requesting imposition of an advisory guideline sentence.”

Plea Agreement Pursuant To Fed. R. Crim. P. 11(c)(1)(C) ¶ 4. Because the Court sentenced

defendant consistent with the Rule 11(c)(1)(C) plea agreement, he cannot establish prejudice from

counsel’s failure to achieve a lower guideline calculation. The Court therefore overrules defendant’s

first claim for relief.

II.     Failure To Argue For A Downward Departure

        Defendant next argues that counsel was ineffective because at sentencing, he did not argue

that defendant qualified for a downward departure based on age, poor health and disparity between

the guideline range and his actual sentence. Defendant has not shown that counsel’s performance

was deficient. As explained above, to establish deficient performance, defendant must establish that

counsel “made errors so serious that counsel was not functioning as the ‘counsel’ guaranteed the


        3
         (...continued)
would acknowledge that based upon, kind of, the turn of events here, that the defendant has fulfilled
his obligation for safety valve.”); id. at 9 (“we’re simply in a position to acknowledge the facts that
have occurred, that the defendant has fulfilled his obligations for safety valve, and the Court
certainly has discretion on what to do at this stage.”).

                                                 -4-
 Case 2:09-cr-20034-KHV           Document 247         Filed 09/13/12     Page 5 of 9




defendant by the Sixth Amendment.” Strickland, 466 U.S. at 687. Strickland, however, mandates

that the Court be “highly deferential” in its review of counsel’s performance and “indulge a strong

presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance.” Id. at 689. The Court must not second guess counsel’s assistance with the benefit of

hindsight simply because defendant did not prevail on his arguments in favor of a reduced sentence.

See id.

          Here, although counsel did not convince the Court to impose a sentence lower than the

agreed sentence in the plea agreement, his strategy and conduct at sentencing were reasonable and

competent. Indeed, counsel raised (at least to some extent) the issues of defendant’s age, see

Transcript Of Sentencing (Doc. #203) Doc. #203 at 10-14, 16, 19, and declining health, see id. at

11, 13-14, and he specifically asked the Court to impose a sentence in the Guidelines range in lieu

of the agreed 60-month sentence, see id. at 5, 13. Even if the Court assumes that counsel’s

performance in presenting his arguments was somehow deficient, defendant has not shown a

reasonable probability that if counsel had argued the issues differently, the result of the sentencing

proceeding would have been different. The Court overrules defendant’s second claim for relief.

III.      Failure To Obtain Just Proceedings And Positive Outcome

          Defendant argues that counsel was ineffective because at sentencing, he did not give

defendant “just proceedings” and a “positive outcome” in light of his cooperation with the

government. This claim essentially mirrors defendant’s claims that counsel did not secure a

sentence which reflected that he was safety valve eligible. Counsel’s performance at sentencing was

within the wide range of reasonable professional assistance. See Strickland, 466 U.S. at 689.

Defendant apparently faults counsel for his failure to obtain a sentence of 48 months. As explained


                                                 -5-
 Case 2:09-cr-20034-KHV          Document 247         Filed 09/13/12      Page 6 of 9




above, at sentencing, counsel argued for a sentence below the statutory minimum in light of the fact

that defendant was safety valve eligible and the various sentencing factors. The Court ultimately

rejected counsel’s arguments. Defendant has not shown that counsel’s performance was deficient

or prejudicial. The Court therefore overrules defendant’s third claim.

IV.    Validity Of Plea Agreement

       In his reply to the government’s argument that his claims are barred by the waiver in the plea

agreement, defendant attempts to claim that his plea was involuntary because defense counsel did

not inform him that he would not receive any benefit from the safety valve and that the government

specifically “assured” him that he would receive a sentence reduction under the safety valve and that

his term of imprisonment would be 48 months. Defendant’s Reply (Doc. #244) at 1. Defendant’s

claim is directly refuted by his statements at the plea colloquy and the plea agreement which provide

that the parties sought a sentence of 60 months. The following excerpts from the transcript of the

change of plea hearing show that the Court and the parties understood that unless the Court rejected

the plea agreement, defendant would receive a sentence of 60 months with no reference to safety

valve or a possible sentence of 48 months:

       THE COURT: Do you realize if I accept your guilty plea, I will sentence you to no
       less than five years in prison but possibly up to 40 years in prison?

       THE INTERPRETER: Yes. * * *

       MS. MOREHEAD: Judge, this does -- this [offense] does carry a statutory
       mandatory minimum of five years, but aside from that, I’m not aware of any other
       issues that would enhance his sentence or subject him to anything other than a
       statutory mandatory minimum coupled with the guideline sentence. * * *

       THE COURT: Did he tell you what kind of sentence he thinks you’re looking at
       under the guidelines?

       THE INTERPRETER: Yes.

                                                -6-
Case 2:09-cr-20034-KHV          Document 247         Filed 09/13/12       Page 7 of 9




     THE COURT: And what’s your understanding about that?

     THE INTERPRETER: It is the level that says five years.

     MR. THOMASON: Your Honor, what I believe -- his base guideline offense level,
     I think, would be a level 26. I think he is referring to the type of plea that we've
     entered here in his 11(c)(1)(C) plea, which is a mandatory minimum of five years.
     Level 26 actually would be slightly below that, but because of the mandatory
     minimum, he would face the mandatory minimum sentence of 60 months.

     THE COURT: Is that your understanding, sir?

     THE INTERPRETER: Yes. * * *

     THE COURT: But until we’re completely through the process, no one is in a position
     to tell you what kind of sentence you might actually be looking at under the
     guidelines?

     THE INTERPRETER: Right, yeah. That’s fine. * * *

     [MS. MOREHEAD:] The sentence proposed would be for a term of imprisonment
     of 60 months, which is the statutory mandatory minimum that would be provided for
     this offense. Mr. Thomason indicated, Judge, we believe the guidelines sentence
     would actually be below this, but this at least gives kind of a concrete base that that’s
     the sentence that would be imposed. * * *

     THE COURT: Did you get a chance to read [the plea agreement] and discuss it with
     your lawyer before you signed it?

     THE INTERPRETER: Yes, Your Honor.

     THE COURT: And is the written document there, does it include all of your
     agreement with the government?

     THE INTERPRETER: Yes, Your Honor.

     THE COURT: So in other words, you don’t have any side agreements or verbal
     promises that you are relying on?

     THE INTERPRETER: No, Your Honor. * * *

     THE COURT: In the Plea Agreement you and the government are agreeing to a five
     year sentence?


                                               -7-
 Case 2:09-cr-20034-KHV           Document 247          Filed 09/13/12      Page 8 of 9




       THE INTERPRETER: Yes, Your Honor.

Transcript Of Change Of Plea Hearing (Doc. #202) at 7, 10-11, 15-17, 21, 24-25, 27. The above

statements conclusively refute any potential claim that the plea agreement included a promise by

government counsel to recommend a sentence of 48 months in prison.4

                                             Conclusion

       The files and records in this case conclusively show that defendant is not entitled to relief.

Moreover, defendant does not allege specific and particularized facts which, if true, would entitle

him to relief. Accordingly, no evidentiary hearing is required. See 28 U.S.C. § 2255; United States

v. Kilpatrick, 124 F.3d 218, 1997 WL 537866, at *3 (10th Cir. Sept. 2, 1997) (allegations of

ineffective assistance must be specific and particularized; conclusory allegations do not warrant

hearing); United States v. Marr, 856 F.2d 1471, 1472 (10th Cir. 1988) (no hearing required where

factual matters raised by Section 2255 petition may be resolved on record); United States v. Barboa,

777 F.2d 1420, 1422-23 (10th Cir. 1985) (hearing not required unless “petitioner’s allegations, if

proved, would entitle him to relief” and allegations are not contravened by record).

                                    Certificate Of Appealability

       Under Rule 11 of the Rules Governing Section 2255 Proceedings, the Court must issue or

deny a certificate of appealability when it enters a final order adverse to the applicant. A certificate

of appealability may issue only if the applicant has made a substantial showing of the denial of a




       4
               Absent a believable reason justifying departure from the apparent truth of an
accused’s statements at a Rule 11 proceeding at which his plea is accepted, such statements are
conclusively established. United States v. Glass, 66 Fed. Appx. 808, 810 (10th Cir. June 3, 2003);
United States v. Jones, 124 F.3d 218, 1997 WL 580493, at *1 (10th Cir. Sept. 19, 1997); United
States v. Bambulas, 571 F.2d 525, 526 (10th Cir. 1978).

                                                  -8-
 Case 2:09-cr-20034-KHV           Document 247          Filed 09/13/12      Page 9 of 9




constitutional right. 28 U.S.C. § 2253(c)(2).5 To satisfy this standard, the movant must demonstrate

that “reasonable jurists would find the district court’s assessment of the constitutional claims

debatable or wrong.” Saiz v. Ortiz, 392 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting Tennard v.

Dretke, 542 U.S. 274, 282 (2004)). For reasons stated above, the Court finds that defendant has not

made a substantial showing of the denial of a constitutional right. Accordingly, the Court denies a

certificate of appealability.

        IT IS THEREFORE ORDERED that defendant’s Motion Under 28 U.S.C. § 2255 To

Vacate, Set Aside, Or Correct Sentence By A Person In Federal Custody (Doc. #226) filed

October 24, 2011 be and hereby is OVERRULED.

        IT IS FURTHER ORDERED that defendant’s Motion To Request Evidentiary Hearing,

Pursuant To 28 U.S.C. § 2255(b) And Rule 8(A) Of The Rules Governing § 2255 Proceedings A

Person In Federal Custody (Doc. #229) filed October 28, 2011 be and hereby is OVERRULED.

        IT IS FURTHER ORDERED that the government’s Motion For Enforcement Of Plea

Agreement (Doc. #238) filed June 21, 2012 be and hereby is OVERRULED.

        IT IS FURTHER ORDERED that a certificate of appealability is DENIED as to the

Court’s ruling on defendant’s motion under 28 U.S.C. § 2255.

        Dated this 13th day of September, 2012 at Kansas City, Kansas.

                                                s/ Kathryn H. Vratil
                                                KATHRYN H. VRATIL
                                                United States District Judge




        5
                 The denial of a Section 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C.
§ 2253(c)(1).

                                                  -9-
